Case 2:08-cr-20520-DML-MKM ECF No. 424, PageID.1625 Filed 05/18/12 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                                Case Number 08-20520
 v.                                                             Honorable David M. Lawson

 BILLY SMITH,

                   Defendant.
 _____________________________________ /

      ORDER DENYING DEFENDANT’S MOTION FOR REDUCTION OF SENTENCE

        The matter is before the Court on the defendant’s motions for reduction in sentence. On

 February 17, 2009, the defendant, Billy Smith, pleaded guilty to one count of conspiracy to

 distribute and possess with intent to distribute 50 grams or more of cocaine base, one count of

 conspiracy to distribute and possess with intent to distribute five kilograms or more of cocaine, and

 one count of conspiracy to unlawfully use a communication facility to commit a drug trafficking

 offense. On June 25, 2009, the defendant was sentenced to 96 months imprisonment on the first

 two counts and 48 months on the third, to be served concurrently. The defendant also was sentenced

 to five years supervised release. The guideline range calculated at the time of sentencing was based

 on a total offense level of 35 (base offense level 38 minus three for acceptance of responsibility) and

 criminal history category of IV, resulting in a guideline range of 210 to 262 months.

        Now before the Court is the defendant’s motion to reduce his sentence under 18 U.S.C.

 § 3582(c). The defendant argues that he is entitled to have his sentence reduced because the United

 States Sentencing Commission, following the enactment of the Fair Sentencing Act of 2010, issued
Case 2:08-cr-20520-DML-MKM ECF No. 424, PageID.1626 Filed 05/18/12 Page 2 of 3




 new and more lenient sentencing guidelines applicable to offenses involving crack cocaine. Those

 guidelines were made retroactive by the Sentencing Commission as of November 1, 2011.

        Under 18 U.S.C. § 3582(c)(2), a court may modify a term of imprisonment after it is imposed

 only under certain conditions:

        [I]n the case of a defendant who has been sentenced to a term of imprisonment based
        on a sentencing range that has subsequently been lowered by the Sentencing
        Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
        Director of the Bureau of Prisons, or on its own motion, the court may reduce the
        term of imprisonment, after considering the factors set forth in section 3553(a) to the
        extent that they are applicable, if such a reduction is consistent with applicable policy
        statements issued by the Sentencing Commission.

 Section 1B1.10(a)(2) of the Sentencing Guidelines provides that a defendant is not eligible for a

 sentence reduction if the amendment to the Sentencing Guidelines — in this case, Amendment 750,

 which was made retroactive by Amendment 759 — “does not have the effect of lowering the

 defendant’s applicable guideline range.” U.S.S.G. § 1B1.10(a)(2)(B).

        The quantity of drugs used to calculate the defendant’s original base offense level was

 7,756,800 kilograms of marijuana equivalency, which was calculated by totaling 384 kilograms of

 cocaine (76,800 kilograms of marijuana equivalency) and 384 kilograms of cocaine base (7,688,000

 kilograms of marijuana equivalency). Based on the Fair Sentencing Act and Crack Retroactivity

 Amendment, the defendant’s new base offense level would be based on 1,448,064 kilograms of

 marijuana equivalency — 76,800 kilograms of marijuana equivalency for the cocaine and 1,371,264

 kilograms of marijuana equivalency for the cocaine base. See U.S.S.G. § 2D1.1 app. n.10(D). The

 defendant’s base offense level would remain unchanged at 38 because his drug quantity was more

 than 30,000 kilograms of marijuana equivalency. U.S.S.G. § 2D1.1(c)(1). After applying the three-

 level reduction for acceptance of responsibility, the defendant’s new total offense level remains at


                                                  -2-
Case 2:08-cr-20520-DML-MKM ECF No. 424, PageID.1627 Filed 05/18/12 Page 3 of 3




 a 35, making him ineligible for a reduction in sentence under 18 U.S.C. § 3582(c)(2). See United

 States v. Snipes, 385 F. App’x 483, 486 (6th Cir. 2010) (holding that defendant was not eligible for

 sentence reduction where the applicable guideline range after considering the effect of the

 amendment to the Sentencing Guidelines was identical to the original guideline range under which

 the defendant was sentenced).

        Accordingly, it is ORDERED that the defendant’s motion for reduction of sentence [dkt.

 #406] is DENIED.

                                                        s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

 Dated: May 18, 2012


                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on May 18, 2012.

                                                           s/Deborah R. Tofil
                                                           DEBORAH R. TOFIL




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